                      Case 1-19-46475-nhl                 Doc 1        Filed 10/28/19            Entered 10/28/19 18:35:20
     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     Eastern               District
             District of New  York  of _________________
                                       (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         A Merryland Operating LLC
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           A Merryland Health Center LLC
                                            ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               1704-06 Mermaid Avenue                                   _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number     Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Brooklyn                      NY    11224
                                            ______________________________________________              _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Kings County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                 https://newmedicalmermaid.wixsite.com/amerrylandhealth
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


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                A Merryland Operating LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                         
                                         ✔ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            6214
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                       ✔   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                             4/01/22 and every 3 years after that).
                                                         
                                                         ✔      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                             is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                             in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


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              A Merryland Operating LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million
                                             ✔
                                                                               $100,000,001-$500 million                More than $50 billion



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               A Merryland Operating LLC
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million
                                            ✔
                                                                                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              10/28/2019
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Lidiya Leshchinsky
                                                _____________________________________________               Lidiya Leshchinsky
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       Managing Member
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ Dawn Kirby
                                                _____________________________________________              Date         10/28/2019
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Dawn Kirby
                                                _________________________________________________________________________________________________
                                                Printed name
                                                Kirby Aisner & Curley LLP
                                                _________________________________________________________________________________________________
                                                Firm name
                                                700 Post Road Suite 237
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Scarsdale
                                                ____________________________________________________            NY             10583
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                (914) 401-9500
                                                ____________________________________                              dkirby@kacllp.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                2733004                                                         NY
                                                ______________________________________________________ ____________
                                                Bar number                                             State




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1702 Mermaid LLC                                      Financial Pacific Leasing Inc.
97-77 Queens Blvd., Suite 620                         PO Box 4568
Rego Park, NY 1374                                    Auburn, WA 98001


AG Adjustments                                        Ilya Kiblitsky
740 Walt Whitman Road                                 c/o Turturro Law
Melville, NY 11747                                    1602 McDonald Avenue


Abbate DeMarinis, LLP                                 Inga Leshchinsky
3200 Sunrise Highway
Wantagh, NY 11793
                                                      Intermed Care, P.C.
                                                      3048 Brighton 1st Street, 1st Floor
AnFex                                                 Brooklyn, NY 11235


Ascentium Capital LLC                                 Internal Revenue Service
23970 US Hwy 59                                       Centralized Insolvency Operations
Humble, TX 77339                                      P.O. Box 7346
                                                      Phildelphia, PA 19101-7346

Axis Capital, Inc.
308 N. Locust Street                                  Internal Revenue Service
Suite 100                                             Centralized Insolvency Operations
Grand Island, NE 68801                                P.O. Box 7346
                                                      Philadelphia, PA 19101-7346

BFG Corporation
721 N McKinley                                        Irina Kiblibsky
Lake Forest, IL 60045                                 c/o Turturro Law PC
                                                      1602 McDonald Ave
                                                      Brooklyn, NY 11230
Beckman Coulter
250 South Kraemer Blvd
PO Box 8000                                           Lease - Copy Machine
Brea, CA 92821-8000

                                                      Lease - Medical Equipment
Beckman Coulter, Inc.
Atlanta Vision Center
3353 Peach Tree N.E. Suite 200                        Legal - General Counsel
Atlanta, GA 30326

                                                      Lenco
Consulting

                                                      Lidiya Leshchinsky
Corporation Service Company, As Rep                   1704-1706 Mermaid Avenue
PO BNox 2576                                          Brooklyn, NY 11224
UCCSPREP@CSCINFO.com
Springfield, IL 62708
                                                      Lidiya Leshchinsky
                                                      170 Douglas Rd
Edwin Cosme                                           Staten Island
1726 Mermaid Avenue                                   NY 10304
Brooklyn, NY 11224

                                                      M2 Lease Funds LLC
                                                      175 N. Patrick Blvd., Suite 140
                                                      Brookfield, WI 53045
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MD Capital Partners, Inc.                                U.S. Small Business Administration
65 Enterprise                                            Birmingham Disaster Loan Service Center
Aliso Viejo, CA 92656                                    2 North 20th Street Suite 320
                                                         Birmingham, AL 35203

NYC Corporation Counsel
100 Church Street, RM 5-240                              US Small Business Administration
Attn: Bankruptcy Dept.                                   PO Box 740192
New York, NY 10007                                       Atlanta, GA 30374-0192


NYC Dept. of Finance                                     Veronica Leshchinsky
345 Adams Street, 3rd Floor
Brooklyn, NY 11201


NYS Dept. Taxation & Finance
Bankruptcy/ Special Procedures Section
P.O. Box 5300
Albany, NY 12205-0300


New York City Dept. of Finance
Tax Audit & Enforcement Div
345 Pearl St - Attn Bankruptcy Unit
New York, NY 10038


Pier 17 Professional Medical Management
3165 Emmons Avenue
Ste C2-C3
Brooklyn, NY 11235


Revived Soul Medical, P.C.
c/o Turturro Law, P.C.
1602 McDonald Avenue
Brooklyn, NY 11230


Serafina Lemberg
1704-1706 Mermaid Avenue
Brooklyn, NY 11224


Serge Kolotsi
2170 E. 65th St
Brooklyn, NY 11234


Sima Lemberg
40 Brighton First Road, Apt. 10-G
Brooklyn
NY 11235


The Leasing Experts Inc.
9710 East Indigo Streret
Suite 203
Miami, FL 33157
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                               United States Bankruptcy Court
                               Eastern District of New York




         A Merryland Operating LLC
In re:                                                           Case No.

                                                                 Chapter    11
                     Debtor(s)




                               Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               10/28/2019                         /s/ Lidiya Leshchinsky
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                  Managing Member
                                                 Position or relationship to debtor
